Case 1:22-cv-00304-HYJ-RSK           ECF No. 30, PageID.1269           Filed 10/12/22      Page 1 of 4




                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
 ______________________________________
                                           )
                                           )
 TIMOTHY BOZUNG, individually and on       )
 behalf of all others similarly situated,  )
                                           )
                 Plaintiff,                )
                                           )
                                               Hon. Hala Y. Jarbou
         v.                                )
                                               Case No. 22-cv-00304-HYJ-RSK
                                           )
 CHRISTIANBOOK, LLC f/k/a CHRISTIAN )
 BOOK DISTRIBUTORS CATALOG, LLC, )
                                           )
                 Defendant.                )
                                           )
 ______________________________________


      NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF DEFENDANT
                CHRISTIANBOOK, LLC’S MOTION TO DISMISS
           FIRST AMENDED CLASS ACTION COMPLAINT (ECF NO. 18)

        Defendant Christianbook, LLC (“Christianbook”) submits the decision in Nashel, et al. v.

 The New York Times Co., No. 2:22-cv-10633, slip op., ECF No. 30 (E.D. Mich. Oct. 11, 2022)

 (Exhibit A) as additional authority in support of its pending Motion to Dismiss Plaintiff’s First

 Amended Class Action Complaint (the “Motion to Dismiss”) (ECF Nos. 18-19).1

        Christianbook’s Motion to Dismiss demonstrated that the Amended Complaint should be

 dismissed for failure to state a claim because, among other things, the only fact Plaintiff pleads in

 support of his PPPA claim is the existence of a NextMark “mailing list” that “counts”

 Christianbook customers from February 28, 2020 through February 28, 2022. ECF No 19,

 PageID.1151. This does not meet Rule 8 pleading requirements. Plaintiff alleged no facts



 1
  Providing supplemental authority to a court after briefing on a motion has closed is a common
 practice. Indeed, Rule 28(j) of the Federal Rules of Appellate Procedure provides for the filing
 of “pertinent and significant authorities” that arise after the close of briefing.
                                                  1
Case 1:22-cv-00304-HYJ-RSK           ECF No. 30, PageID.1270            Filed 10/12/22        Page 2 of 4




 supporting that Christianbook sold or otherwise disclosed the customer data contained in the

 “mailing list,” or even that the customer data compiled in the “mailing list” identifies

 Christianbook customers’ by their purchases. Id., PageID.1158-1162. Even if the “mailing list”

 contains Christianbook customer data, that data was gleaned from customers counted from

 February 2020 through February 2022, not from the pre-July 30, 2016 period in which Plaintiff

 alleges Christianbook disclosed his and the putative class’s data. Id., PageID.1161.

        The Nashel decision validates these arguments. Just like Plaintiff, the Nashel plaintiffs

 argued that an obsolete NextMark “mailing list” showing customer “counts” through 6/30/2007

 supported an inference that the defendant violated the PPPA during the relevant pre-July 31,

 2016 period. Ex. A, at 9-10; see also Nashel, et al. v. The New York Times, 22-cv-10633, ECF

 No. 16-2, PageID.719. The court held that these allegations “fail to clear the plausibility

 threshold” because the data cards “were posted years before the relevant period,” Plaintiffs’ only

 “cure for the timing issue” was a “legal-conclusion inference” that made their allegations

 “merely possible rather than plausible,” and the “data cards . . . fail to support a crucial element

 of Plaintiffs’ alleged action: that Defendant engaged in the business of selling written material to

 disclose information personally identifying the customer.” Ex. A, at 9-11 (emphasis in original)

 (citation omitted). In short, the Nashel court was faced with the exact same PPPA claim as this

 Court is here, supported by a comparably outdated NextMark “mailing list” purporting to

 “count” individuals who made purchases years outside the period in which the PPPA claim

 accrued, and concluded that those allegations did not plausibly state a claim for relief.2



 2
   The Neshel plaintiffs alleged that their PPPA claims were supported not only by the NextMark
 mailing list, but also by defendant’s 2015 “Privacy Policy” and a 2020 case study indicating that
 a “list” of defendant’s customers was rented. Ex. A, at 3-4. The Neshel plaintiffs marshalled far
 more factual support for their claims than Plaintiff has for his, and they were still dismissed. It
 follows that Plaintiff should suffer the same fate for his more sparsely pled PPPA claim.
                                                   2
Case 1:22-cv-00304-HYJ-RSK         ECF No. 30, PageID.1271           Filed 10/12/22     Page 3 of 4




        For these reasons, and those previously set forth in the Motion to Dismiss, the Court

 should dismiss Plaintiff’s Amended Complaint with prejudice.


  Dated: October 12, 2022                           Respectfully submitted,

                                                    /s/ Matthew J. Boettcher
                                                    Matthew J. Boettcher
                                                    Mboettcher@plunkettcooney.mom
                                                    Patrick C. Lannen
                                                    Plannen@plunkettcooney.com
                                                    Plunkett Cooney, PC
                                                    38505 Woodward Ave., Ste. 100
                                                    Bloomfield Hills, MI 48304
                                                    Tel.: (248) 901-4035
                                                    Fax: (248) 901-4040

                                                    Jennifer L. Chunias
                                                    JChunias@goodwinlaw.com
                                                    Timothy Bazzle
                                                    TBazzle@goodwinlaw.com
                                                    Dylan Schweers
                                                    DSchweers@goodwinlaw.com
                                                    Goodwin Procter LLP
                                                    100 Northern Avenue
                                                    Boston, Massachusetts 02210
                                                    Tel.: (617) 570-1000
                                                    Fax.: (617) 523-1231

                                                    Attorneys for Christianbook, LLC




                                                3
Case 1:22-cv-00304-HYJ-RSK             ECF No. 30, PageID.1272     Filed 10/12/22     Page 4 of 4




                                 CERTIFICATE OF SERVICE

        I hereby certify that, on October 12, 2022, a true and correct copy of the foregoing was

 electronically filed with the Clerk of the Court by using the CM/ECF system, which caused it to

 be served on all counsel of record.

                                                           /s/ Matthew J. Boettcher
                                                           Matthew J. Boettcher




                                                 4
